                           Case 19-11374               Doc 7         Filed 04/19/19                   Entered 04/19/19 11:51:39                Desc Main
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Fill in this information to identify your case:
 Debtor 1                    Gary                             T                                 Scott
                           First Name                       Middle Name                       Last Name                                  Check if this is an amended plan,
                                                                                                                                         and list below the sections of the
 Debtor 2                                                                                                                                plan that have been changed
 (Spouse, if filing)
                           First Name                      Middle Name                       Last Name

 United States Bankruptcy Court for the:               Northern           District of:   Illinois
                                                                                            (state)

 Case number
 (if known)              19-11374




Official Form 113
Chapter 13 Plan                                                                                                                                                          12/17


 Part 1:               Notices

 To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
                         option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do not comply with local rules
                         and judicial rulings may not be confirmable.
                         In the following notice to creditors, you must check each box that applies.


 To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                         You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you
                         may wish to consult one.
                         If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to confirmation at least 7
                         days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this
                         plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of
                         claim in order to be paid under any plan.
                         The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan includes
                         each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will be ineffective if set
                         out later in the plan.

 1.1     A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial payment or                      Included              Not included
         no payment at all to the secured creditor
 1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in Section                          Included              Not included
         3.4
 1.3     Nonstandard provisions, set out in Part 8                                                                                       Included              Not included


 Part 2:               Plan Payments and Length of Plan

 2.1 Debtor(s) will make regular payments to the trustee as follows:
        $1,740.00 per month for 60 month(s)

        If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
        specified in this plan.




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 2.2 Regular payments to the trustee will be made from future income in the following manner:
      Check all that apply.
         Debtor(s) will make payments pursuant to a payroll deduction order.
         Debtor(s) will make payments directly to the trustee.
         Other (specify method of payment):


 2.3 Income tax refunds.
      Check one.
         Debtor(s) will retain any income tax refunds received during the plan term.
         Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will turn over to the
         trustee all income tax refunds received during the plan term.
         Debtor(s) will treat income tax refunds as follows:


 2.4 Additional payments.
      Check one.
         None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.


 2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $104,400.00


 Part 3:      Treatment of Secured Claims

 3.1 Maintenance of payments and cure of default, if any.
      Check all that apply.
         None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.




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 3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.
      Check one.
         None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
         The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.
         The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim listed below, the
         debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured claim . For secured claims of
         governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy
         Rules controls over any contrary amount listed below. For each listed claim, the value of the secured claim will be paid in full with interest at the rate stated
         below.
           The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this plan. If the
           amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety as an unsecured claim
           under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total claim listed on the proof of claim controls over any
           contrary amounts listed in this paragraph.
           The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest of the
           debtor(s) or the estate(s) until the earlier of:
           (a) payment of the underlying debt determined under nonbankruptcy law, or
           (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.


      Name of        Estimated Collateral                                                         Value of           Amount of Amount of Interest Monthly Estimated
      creditor       amount                                                                       collateral         claims     secured  rate     payment total of
                     of creditor’s                                                                                   senior to claim              to       monthly
                     total                                                                                           creditor’s                   creditor payments
                     claim                                                                                           claim

       Wheeler        $7,613.88    15045 S. Hoyne Pin(s): (29-07-331-027-0000) & (29-07-           $53,148.00                   $7,613.88 0.00% $84.00         $7,613.88
       Financial                   331-026-0000), Harvey, IL 60426


 3.3 Secured claims excluded from 11 U.S.C. § 506.
      Check one.
         None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
         The claims listed below were either:
           (a) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the personal use
           of     the debtor(s), or
           (b) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.
           These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or directly by
           the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim filed before the filing deadline under
           Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a contrary timely filed proof of claim, the amounts stated
           below are controlling. The final column includes only payments disbursed by the trustee rather than by the debtor(s).


      Name of creditor                           Collateral                   Amount of claim           Interest        Monthly plan       Estimated total
                                                                                                        rate            payment            payments by trustee

       ALPHERA FINANCIAL SERV                    2015 Chevy Tahoe              $37,780.00                 6.25%          $205.00            $44,088.00
                                                                                                                         Disbursed by:

                                                                                                                             Trustee
                                                                                                                             Debtor(s)
       NATIONWIDE CAC LLC                        2008 BMW 645i                 $25,732.00                 6.25%          $140.00            $30,028.20
                                                                                                                         Disbursed by:

                                                                                                                             Trustee
                                                                                                                             Debtor(s)




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 3.4 Lien avoidance.
      Check one.
         None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
         The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.


 3.5 Surrender of collateral.
      Check one.
         None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.




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 Part 4:      Treatment of Fees and Priority Claims
 4.1 General
      Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without postpetition
      interest.

 4.2 Trustee’s fees
      Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 5.40% of plan payments; and during the plan
      term, they are estimated to total $5,637.60

 4.3 Attorney’s fees
      The balance of the fees owed to the attorney for the debtor(s) is estimated to be $3,650.00

 4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
      Check one.
         None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

 4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
      Check one.
         None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

 Part 5:      Treatment of Nonpriority Unsecured Claims
 5.1 Nonpriority unsecured claims not separately classified.
      Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option providing the largest
      payment will be effective. Check all that apply.

           The sum of
            100.00% of the total amount of these claims, an estimated payment of $11,121.16
           The funds remaining after disbursements have been made to all other creditors provided for in this plan.
           If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $11,121.16 Regardless of the
           options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.




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 5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

           None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

 5.3 Other separately classified nonpriority unsecured claims. Check one.

           None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.




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 Part 6:       Executory Contracts and Unexpired Leases

 6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts and
     unexpired leases are rejected. Check one.

           None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

 Part 7:       Vesting of Property of the Estate
 7.1 Property of the estate will vest in the debtor(s) upon.
      Check the applicable box:

           plan confirmation.
           entry of discharge
           other

 Part 8:       Nonstandard Plan Provisions
 8.1 Check “None” or List Nonstandard Plan Provisions

           None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

      Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Official
      Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.
      The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.
      1. Commencing with the January 2020 plan payment, Alphera Financial Serv shall receive set payments in the amount of $939.00 per month.

      2. Alphera Financial Serv shall receive pre-confirmation adequate protection payments in the amount of $205.00 per month.

      3. Commencing with the January 2020 plan payment, Nationwide CAC LLC shall receive set payments in the amount of $640.00 per month.

      4. Nationwide CAC LLC shall receive pre-confirmation adequate protection payments in the amount of $140.00 per month.

 Part 9:       Signature(s):
 9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney


If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if any, must
sign below.


û       Signature of Debtor 1
                                                                                     û         Signature of Debtor 2
        Executed on                                                                            Executed on
                                 MM / DD / YYYY                                                                        MM / DD / YYYY

û      /s/ Jacob Comrov
        Signature of Attorney for Debtor(s)
                                                                                               Date                     4/19/2019
                                                                                                                       MM / DD / YYYY
By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and order of the
provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions included in Part 8.




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Exhibit: Total Amount of Estimated Trustee Payments
The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set out below and the actual
plan terms, the plan terms control.

  a.       Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                           $0.00

  b.       Modified secured claims (Part 3, Section 3.2 total)                                                                                   $7,613.88

  c.       Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                              $74,116.20

  d.       Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                    $0.00

  e.       Fees and priority claims (Part 4 total)                                                                                               $9,287.60

  f.       Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                             $11,121.16

  g.       Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                         $0.00

  h.       Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                    $0.00

  i.       Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                              $0.00

  j.       Nonstandard payments (Part 8, total)                                                                                                + $0.00

           Total of lines a through j                                                                                                            $102,138.84




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